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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                     Northern Division

 BARBARA TRIPP, individually and on behalf
 of all others similarly situated,

                        Plaintiff,


                v.
                                                         Case No.: 1:24-cv-00987-JMC
 PERDUE FOODS LLC,

                        Defendant.



        NOTICE OF FILING OF CONSENTS TO JOIN COLLECTIVE ACTION

       Plaintiffs hereby file one (1) Consent to Join Collective Action in the above-captioned

action, for the following:

       1. Bob Stallings

       Respectfully submitted this January 14, 2025,

                                                   /s/ Robert W.T. Tucci_________
                                                   Gregg Cohen Greenberg (Bar no:17291)
                                                   Robert W.T. Tucci (Bar no: 31356)
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                                  Counsel for Plaintiff
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        On January 14, 2025, I served      the original      a true copy of the foregoing document
entitled:
        •      NOTICE OF FILING OF CONSENTS TO JOIN COLLECTIVE ACTION
on all the appearing and/or interested parties in this action as follows:

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 Counsel for Defendant

       (BY MAIL) I am readily familiar with the firm’s practice of collection and processing
       correspondence for mailing. Under that practice it would be deposited with the U.S.
       Postal Service on that same day with postage thereon fully prepaid at Silver Spring,
       Maryland in the ordinary course of business. I am aware that on motion of the party
       served, service is presumed invalid if postage cancellation date or postage meter date is
       more than one day after date of deposit for mailing this affidavit.
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       (BY OVERNIGHT MAIL) I am personally and readily familiar with the business
       practice of ZIPIN, AMSTER & GREENBERG, LLC for collection and processing
       correspondence for overnight delivery, and I caused such document(s) described herein
       to be deposited for delivery to a facility regularly maintained by the USPS for overnight
       delivery.

       (BY ELECTRONIC TRANSMISSION) I caused said document(s) to be served via
       electronic transmission through either the Court’s CM/ECF system, via electronic mail,
       or an electronic service provider to the addressee(s) listed above on the date below.

       (BY PERSONAL SERVICE) I delivered the foregoing document by hand delivery to
       the addressed named above.

       I declare under penalty of perjury under the laws of the State of Maryland that the
foregoing is true and correct.

       Executed on January 14, 2025, at Silver Spring, Maryland.


                                                    /s/ Robert Tucci
                                                    Robert Tucci
